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                         EXHIBIT 5
        Case 1:20-cr-00412-AT
  Case 1:20-mj-00990-RML      Document
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                                    5 Filed    Filed 03/18/21
                                            02/04/21   Page 1 ofPage 2 of 9#: 27
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                                                U.S. Department of Justice


                                                United States Attorney
                                                Eastern District of New York

RCH                                             27 I Cadman Plaza East
F. #2018R01123                                  Brooklyn, New York l/201



                                                February 4, 2021

ByECF

The Honorable Roanne L. Mann
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

             Re:    United States v. Kenneth Kurson
                    Docket No. 20-MJ-990 (RML)


Dear Magistrate Judge Mann:

               The government respectfully moves to dismiss the complaint as to the above
named defendant pursuant to an Executive Grant of Clemency signed by President Donald J.
Trump on January 19, 2021, a copy of which is attached hereto. Counsel for the defendant
consents to this application.

                                                Respectfully submitted,

                                                SETH D. DUCHARME
                                                Acting United States Attorney

                                          By:    Isl Ryan C. Harris
                                                Ryan C. Harris
                                                Assistant U.S. Attorney
                                                (718) 254-6489




cc:   Clerk of the Court (RLM) (by ECF)
      Marc Mukasey, Esq. (by ECF)
                   Case 1:20-cr-00412-AT
             Case 1:20-mj-00990-RML       Document
                                      Document     101-6
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                                                       02/04/21   Page 1 ofPage 3 of 9#: 31
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                                  UNITED STATES DISTRICT COURT
       EASTERN    DISTRICT OF             NEW YORK
-----------------             -----------=----;;...;;,.;=;._-----
           UNITED STATES OF AMERICA                                 MOTION AND ORDER DISMISSING
                                                                    THE COMPLAINT WITHOUT
                          V.                                        PREJUDICE
       KENNETH KURSON,
       also known as "Jayden Wagner" and "Eddie
       Train"
                                                                                        ~--.......--------
                                                                    CASE NUMBER: 20-MJ-990

           MOTION FOR AN ORDER DISMISSING THE COMPLAINT WITHOUT PREJUDICE


     The United States of America hereby moves to dismiss the complaint without prejudice as to the above named
defendant. Counsel for defendant (where applicable), Marc Mukasey, Esq.                , does not oppose this motion.


             Defendant   is in custody and should be released.
             Defendant   is incarcerated on another matter and should not be released
         [X; Defendant   is not in custody and was released on a bond not secured with property.
             Defendant   is not in custody and was released on a bond secured with prope1iy.
             Defendant   is not in custody and is not released on a bond.

February 4, 2021
Date                                                        ASSIST~T<;;R~~- Harris

                         ORDER DISMISSING THE COMPLAINT WITHOUT PREJUDICE

     The United States having moved to dismiss the complaint without prejudice and there being no opposition,
the motion to dismiss the complaint without prejudice is granted and any outstanding underlying warrants are
hereby vacated.
     □ The United States must cooperate with defendant or his counsel in promptly executing all
do£·uments necessary to vacate any liens recorded against property and suretie,,;; securing the bond.
         SO ORDERED.


  February 4, 2021                                          Isl Roanne L. Mann
Date                                                            UNITED STATES MAGISTRATE JUDGE
                                                                Hon. Roanne L. Mann

TO: THE UNITED STATES MARSHAL FOR THE EASTERN DISTRICT OF NEW YORK
 □       It is further Ordered that the United States Marshals Service for the Eastern District ofNew Yol'k
         release the above named defendant.
::,     It is further Ordered that the United States Marshals Service for the Eastern District of New Yol'k not
        release the above named defendant since he is incarce1·ated on another matter.


      February 4, 2021                                        Isl Roanne L. Mann
Date                                                            UNITED STATES MAGISTRATE JUDGE
                                                                Hon. Roa1111e L. Mann
            Case 1:20-cr-00412-AT
    case 1:20-mj-00990-RML        Document
                              Document      101-6
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                                                                      2 PagelD




       Executive Grant of Clemency
                TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

      I HEREBY GRANT full and unconditional pardons to the following named persons
for those offenses against the United States individually enumerated and set before me for
my consideration:


                                        ALEXADJMI

                                 MAHMOUD REZA BANKI
                                     STEPHEN BANNON

                                  FAUSTINO BERNADETT

                    CARL ANDREW BOGGS Ill, AKA DREW BOGGS
                              TODD ANTHONY BOUtANGER

                                      ELLIO'D~ BROIDY
                                      TOMMASO BUTI
                                 DAVID LAMAR CLANTON

                                 JEFFREY ALAN CONWAY
             WESLEY SCOTT HARKONEN, JR., AKA W. SCOTT HARK.ONEN
                                  WILLIAM "ED" HENRY

                                        ABEL HOLTZ
                                      DOUGLAS JEMAL
                                  JAMES E. JOHNSON, JR.

            KENNETH KURSON, AKA ]AYDEN WAGNER AND EDDIE TRAIN
                             ANTHONY SCOTT LEVANDOWSKI
                                   MICHAEL A. LIBERTY

                                        GLENS.Moss
        Case 1:20-cr-00412-AT Document 101-6 Filed 03/18/21 Page 5 of 9
case 1:20-mj-00990-RML Document 5-2 Filed 02/04/21 Page 2 of 2 PagelD #: 30




                                RICHARD G. RENZI

                             GREGORY LOUIS REYES

                                   AVIEMSELLA
                                 CASEY URLACHER

                                ROBERT ZANGRILLO



      I HEREBY .DESlGNATE, direct~ and empower the Acting Pardon Attorney,
as my representative, to sign each grant of clemency to the persons named herein.
The Acting Pardon Attorney shall declare that her action is the act of the President,
being performed at my direction.


      IN TESTIMONY WHEREOF, I have hereunto signed my name and
caused the seal of the Department of Justice to be affixed.


                                              Done at the City (>/Washington in the
                                              District qf Columbia this Nineteenth
                                              tlay ofJanuary in the year ofour Lord
                                              1'vl thousand and Tu ty-one and qf' the
                                              In pendence o,f the ited States the
                                              T hundred and F: ry-fifth.




                                                 DONALD J. TRUMP
                                                    President
        Case 1:20-cr-00412-AT
  Case 1:20-mj-00990-RML      Document
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                                    5 Filed    Filed 03/18/21
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                                                                1 PagelD

                                                U.S. Department of Justice


                                                United States Attorney
                                                Eastern District of New York

RCH                                             271 Cadman Plaza East
F. #2018R01123                                  Brooklyn, New York 11201



                                                February 4, 2021

ByECF

The Honorable Roanne L. Mann
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

             Re:    United States v. Kenneth Kurson
                    Docket No. 20-MJ-990 (RML)


Dear Magistrate Judge Mann:

               The government respectfully moves to dismiss the complaint as to the above
named defendant pursuant to an Executive Grant of Clemency signed by President Donald J.
Trump on January 19, 2021, a copy of which is attached hereto. Counsel for the defendant
consents to this application.

                                                Respectfully submitted,

                                                SETH D. DUCHARME
                                                Acting United States Attorney

                                          By:   Isl Ryan C. Harris
                                                Ryan C. Harris
                                                Assistant U.S. Attorney
                                                (718) 254-6489




cc:   Clerk of the Court (RLM) (by ECF)
      Marc Mukasey, Esq. (by ECF)
                     Case 1:20-cr-00412-AT
              Case 1:20-mj-00990-RML       Document
                                       Document     101-602/04/21
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                                                                   Page 1 of    7 of 9 #: 28
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                                   UNITED STATES DISTRICT COURT
________E=A'-"'S;;;;.,T=E=R=N'-'-------- DISTRICT OF _ _ _ _ _ _..;;:,.N=E~W.;__;;;,Y=O=RK=-=--------



              UNITED STATES OF AMERICA                                MOTION AND ORDER DISMISSING
                                                                      THE COMPLAINT WITHOUT
                           V.                                         PREJUDICE
     KENNETH KURSON,
     also known as "Jayden Wagner" and "Eddie
     Train"                                                                                         99'"""0'---------
                                                                      CASE NUMBER: -=2=0-...,_M=J'--....

              MOTION FOR AN ORDER DISMISSING THE COMPLAINT WITHOUT PREJUDICE


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              Defendant is incarcerated on another matter and should not be released
        [X:   Defendant is nut in custody and was released on a bond not secured with property.
              Defendant is not in custody and was released on a bond seemed with property.
               Defendant is not in custody and is not released on a bond.

February 4, 2021
Date                                                          ASSIST;f/;ff.:!;T<;;;RNt. Harris
                          ORDER DISMISSING THE COMPLAINT WITHOUT PREJUDICE

     The United States having moved to dismiss the complaint without prejudice and there being no opposition,
the motion to dismiss the complaint without prejudice is granted and any outstanding underlying warrants are
hereby vacated.
     □ The United States must cooperate with defendant or his counsel in promptly executing all
doeuments neeessary to vaeate any lien.~ recm•ded against propePty and sureties securing the bond.
    SO ORDERED.



 Date                                                             UNITED STATES MAGISTRATE JUDGE
                                                                 Hon. Roanne L. Mann

 TO: THE UNITED STATES LllARSHAL FOR THE EASTER1V DISTRICT OF NEW YORK
 □   It is further Ordered that the United States Marshals Service for the Eastern District of New York
     release the above named defendant.
 :J It is further Ordered that the United States Marshals Service for the Eastern District of New York not
    release the above named defendant since he is incarcerated on another matter.




 Date                                                             UNITED STATES MAGISTRATE JUDGE
                                                                  Hon. Roanne L. Mann
           Case 1:20-cr-00412-AT
    case 1:20-mj-00990-RML       Document
                             Document      101-6
                                      5-2 Filed    Filed 03/18/21
                                                02/04/21   Page 1 ofPage 8 of 9 #: 29
                                                                     2 PagelD




       Executive Grant of Clemency
                TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:


      I HEREBY GRANT full and unconditional pardons to the following named persons
for those offenses against the United States individually enumerated and set before me for
my consideration:


                                        ALEXADJMI
                                 MAHMOUD REZ.A BANKI
                                     STEPHEN BANNON
                                  FAUSTINO BERNADETT
                    CARL ANDREW BOGGS III, AKA DREW BOGGS

                              TODD ANTI:IONY BOULANGER

                                      ELLIOTT BROIDY
                                      TOMMASO BUTI

                                 DAVID LAMAR CLANTON

                                 JEFFREY ALAN CONWAY
             WESLEY SCOTT HARKONEN, JR., AKA            W. SCOTT HARKONEN
                                  WILLIAM "ED'' HENRY

                                        ABEL HOLTZ
                                      DOUGLAS JEMAL

                                  JAMES E. J0HNS0N, JR.
            KENNETH KURS0N, AKA ]AYDEN WAGNER AND EDDIE TRAIN
                            .ANTHONY SCOTT LEVANDOWSKI
                                   MICHAEL A. LIBERTY

                                       GLENS •.Moss
        Case 1:20-cr-00412-AT
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                         Document      101-6
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                                            02/04/21   Page 2 ofPage 9 of 9#: 30
                                                                 2 PagelD




                                RICHARD G. RENZI

                             GREGORY LOUIS REYES
                                   AVIEM. SELLA
                                CASEY URLACHER

                               ROBERT ZANGRILLO



      I HEREBY DESIGNATE, direct, and empower the Acting Pardon Attorney,
as my representative, to sign each grant of clemency to the persons named herein.
The Acting Pardon Attorney shaH declare that her action is the act of the President,
being performed at my direction.


      IN TESTIMONY WHEREOF, I have hereunto signed my name and
caused the seal of the Department of Justice to be affixed.


                                              Done at the City of Washington in the
                                              District qf' Columbia this Nineteenth
                                              day ofJanuary in the year ofour Lord
                                                  thousand and Ti    ty-one and <~fthe
                                              In pendence ofthe      itedStates the
                                              T   hundred cmd F: 'Y1iflh.




                                                  DONALD J. TRU
                                                    President
